Case 20-80035-jw   Doc 8   Filed 06/26/20 Entered 06/26/20 16:26:49   Desc Main
                            Document     Page 1 of 4
Case 20-80035-jw   Doc 8   Filed 06/26/20 Entered 06/26/20 16:26:49   Desc Main
                            Document     Page 2 of 4
Case 20-80035-jw   Doc 8   Filed 06/26/20 Entered 06/26/20 16:26:49   Desc Main
                            Document     Page 3 of 4
Case 20-80035-jw   Doc 8   Filed 06/26/20 Entered 06/26/20 16:26:49   Desc Main
                            Document     Page 4 of 4
